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  8                          UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
  9                               SOUTHERN DIVISION
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       KOLETTE A. PAGE, et al.
  11
                        Plaintiff(s),               CASE NO:
  12                                                8:18−cv−01208−AG−KES
                v.
  13 MINNESOTA LIFE INSURANCE COMPANY ,
       et al.                                       SCHEDULING ORDER
  14                                                SPECIFYING PROCEDURES
  15                                                Discovery Fact Cut−Off:
                       Defendant(s).                October 28, 2019
  16
                                                    Final Pretrial Conference:
  17                                                January 13, 2020 at 08:30 AM
  18                                                JURY TRIAL:
                                                    January 28, 2020 at 09:00 AM
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  21            With this Scheduling Order Specifying Procedures, the Court orders the
  22     following concerning the dates and procedures in this case. Counsel are ordered
  23     to be completely familiar with the Federal Rules of Civil Procedure, the Local
  24     Rules of the Central District of California, and the FAQ’s about Judges’

  25     Procedures and Schedules posted by these Chambers on the Central District

  26     website at www.cacd.uscourts.gov. Most patent cases will be principally controlled

  27     by the Standing Patent Rules attached at the location just cited. If there is a first

  28     appearance by any party after the date of this Order, Plaintiff counsel shall give


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        notice of this Order to that party.
   2         1.   Discovery. The Court sets a discovery cutoff on the date stated in the
   3    caption of this Order. The following discovery schedule shall apply.
   4              1.1   Depositions. All non−expert depositions shall occur on or before
   5    the discovery cutoff date. A non−expert deposition which was started on or before
   6    the discovery cutoff date may continue beyond the cutoff date, if reasonably
   7    necessary for completion.
   8              1.2   Other Discovery. All interrogatories, requests for admission,
   9    requests for production, or the like, shall be served at least forty−five days before
   10   the discovery cutoff date. The Court will not approve stipulations between
   11   counsel that permit discovery responses to be served after the cutoff date except
   12   in unusual circumstances and upon a showing of good cause.
   13             1.3   Discovery Motions. Generally, the Magistrate Judge assigned to
   14   this case shall hear all discovery motions. Discovery motions shall be filed and
   15   served as soon as possible and never later than 30 days after the discovery cutoff
   16   date. The parties are ordered to strictly comply with the requirements of all Local
   17   Rules at Local Rule 37 et seq. in preparing and filing Discovery Motions. The
   18   Court expects counsel to resolve most discovery problems among themselves in a
   19   courteous, reasonable, and professional manner. Frequent resort to the Court for
   20   guidance in discovery is generally unnecessary.
   21             1.4   Expert Discovery. The discovery cutoff provisions in this
   22   Order include expert discovery, except as here provided or otherwise ordered by
   23   the Court. Unless the parties otherwise stipulate in writing and obtain the Court’s
   24   approval, the Court orders the sequence of disclosures as provided by Fed.R.Civ.P.
   25   26(a)(2)(D), except that the initial disclosure shall occur at least 120 (not 90) days
   26   before trial, and if an expert is identified under Fed. R. Civ. P. 26(a)(2)(D)(ii), any
   27   deposition of such expert shall occur as soon as reasonably possible, but may occur
   28   after the discovery cutoff date.

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            2.   Final Pretrial Conference. The Court sets a Final Pretrial
  2    Conference under Fed.R.Civ.P. 16 on the date stated in the caption of this Order.
  3    The parties are ordered to strictly comply with the requirements of all Local Rules
  4    at Local Rule 16 et seq. The proposed Final Pretrial Conference Order shall be in

  5    the format set forth in Appendix A to the Local Rules, and state the settlement
  6    procedure that was followed.
  7         3.   Joinder and Amendment Motions. Absent good cause, any motion
  8    to join another party or to amend a pleading shall be filed and served within
  9    60 days after the date of this Order and noticed for a hearing occurring within
  10   90 days after the date of this Order.
  11        4.   Summary Judgment or Partial Summary Judgment Motions. Such
  12   motions shall be noticed for a hearing occurring not less than 25 days before the
  13   Final Pretrial Conference, unless otherwise allowed by the Court.
  14        5.   Settlement. In every case, if the parties and attorneys are unable to
  15   resolve the matter on their own, the Court requires a settlement conference before
  16   an independent settlement officer, to be conducted before the Final Pretrial
  17   Conference. Counsel may agree on an appropriate procedure, such as a
  18   similar alternative devised by counsel.
  19        6.   Trials. The Court sets a trial date on the date stated in the caption of
  20   this Order. Some of this Court&rsquo;s views on voir dire and motions in limine are
  21   found at Mixed Chicks LLC v. Sally Beauty Supply LLC, 879 F. Supp. 2d 1093
  22   (2012). The following procedures shall apply.
  23             6.1   In Limine Motions (Jury Trials). Any motion in limine shall be
  24   filed and served not later than ten court days before the Final Pretrial Conference,
  25   and any opposition shall be filed and served five court days before the Final
  26   Pretrial Conference. Motions in limine are most proper when directed to prevent

  27   even the improper mention of a highly sensitive issue, or to save expense by
  28   determining whether a witness will be allowed to testify, or to allow a thorough

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       review of a significant and difficult evidentiary issue. Most motions in limine are
  2    best left for rulings in the context of the trial. See Mixed Chicks, 879 F. Supp. 2d
  3    at 1094−1095.
  4              6.2   Voir Dire Questions (Jury Trials). The Court will question jurors
  5    concerning standard topics. Any special questions or topics requested to be put to
  6    prospective jurors by the Court on voir dire shall be filed and served at least seven
  7    days before trial. “The principal purpose of voir dire is to identify bias. It is not to
  8    indoctrinate, inculcate, influence, insinuate, inform, or ingratiate.” Mixed Chicks,
  9    879 F. Supp. 2d at 1093−1094 (internal citations omitted).
  10             6.3   Jury Instructions (Jury Trials). The Court prefers to use
  11   instructions from the Manual of Model Jury Instructions for the Ninth Circuit,
  12   following all the Local Rules at Local Rule 51 et seq. The Court usually gives the
  13   following preliminary instructions to the jury before opening statement: 1.1B, 1.3,
  14   1.6, 1.7, 1.8, 1.9, 1.10, 1.11, 1.12, 1.13, 1.14, 1.18, and 1.19. At least seven days
  15   before trial, counsel shall file with the Court the following:
  16                   6.3.1    A joint set of jury instructions on which there is
  17                            agreement. (Plaintiff’s counsel has the burden of
  18                            preparing the joint set of jury instructions.)
  19                   6.3.2    Each party’s proposed jury instructions which are
  20                            objected to by any other party, accompanied by points
  21                            and authorities in support of those instructions.
  22                   6.3.3    Each party’s points and authorities supporting their
  23                            objections to another party’s proposed jury
  24                            instructions.
  25             6.4   Special Verdict in Jury Trials. If any special forms of verdict are
  26   requested, they shall be prepared, filed, and served under Local Rules 49−1 and
  27   49−2.
  28             6.5   Exhibits. Unless an electronic alternative is approved by the

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        Court, counsel shall prepare an original set and a copy set of trial exhibits in 3−ring
   2    binders, each tabbed down the right side with the exhibit number, prefaced by an
   3    index of each exhibit, following Local Rule 26−3 in numbering exhibits. If
   4    voluminous exhibits will be delivered to the Court’s loading dock, the delivery
   5    should be coordinated before trial with the Courtroom Deputy Clerk at
   6    AG_chambers@cacd.uscourts.gov.
   7             6.6    Submission at Trial. Counsel shall submit the following to the
   8    Courtroom Deputy Clerk on the first day of trial:
   9                    6.6.1   The original exhibit binder set with the Court’s exhibit
   10                           tags attached and filled out showing the case number,
   11                           case name, and exhibit number. (Exhibit tags must be
   12                           attached so as not to cover exhibit text.)
   13                   6.6.2   The copy exhibit binder set for use by the Judge.
   14                   6.6.3   Three copies of exhibit lists, showing which exhibits
   15                           may be received into evidence without objection.
   16                   6.6.4   Three copies of witness lists with estimates of the total
   17                           time on the stand for each witness.
   18                   6.6.5   A transcript or copy of any deposition or other
   19                           discovery response to be read to the jury, following
   20                           Local Rule 16−2.7.
   21                   6.6.6   (Jury trials) A very short description of the case
   22                           approved by all parties to be read to the jury at the
   23                           beginning of the trial. As an alternative, the Court may
   24                           allow the parties to briefly describe the case to the jury.
   25            6.7    Trial Times. Trial times generally are 9:00 a.m. to 12:00 p.m.
   26   and 1:30 p.m. to 4:30 p.m. Tuesday through Thursday, and 8:00 a.m. to 1:30 p.m.
   27   on Friday.
   28            6.8    Witnesses. If counsel runs out of witnesses, the Court may

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       deem that counsel has rested. Counsel must keep opposing counsel informed
  2    about upcoming witnesses, always informing opposing counsel of the witness for
  3    the next court day before 5:00 p.m. of the previous court day. Only one attorney
  4    per party shall examine and defend a witness.

  5              6.9   Admission of Exhibits. When counsel thinks an exhibit is
  6    admissible and should be admitted, counsel should move for its admission.
  7              6.10 Objections. Objections should be brief, stating only,
  8    “Objection” followed by the specific legal ground such as “hearsay” or “403.”
  9              6.11 Decorum. Trials will be conducted in a dignified manner,
  10   following the traditional rules of trial decorum. Show respect for the trial process
  11   by being on time. Do not address witnesses over age 14 by their first names.
  12   Most examination and argument should be done at the lectern. The Court

  13   recognizes that at times it is necessary to enter the well in this courtroom.
  14             6.12 Other Possible Trial Procedures. The Court is open to
  15   creative trial procedures, such as imposing time limits, allowing short statements
  16   introducing each witness’ testimony before examination, allowing questions
  17   from the jury, and giving the jury a full set of instructions before the presentation

  18   of evidence. The Court reminds parties that trial estimates affect juries. The

  19   Court strongly encourages the parties to give young associate lawyers the

  20   chance to examine witnesses and fully participate in trial (and throughout the
  21   litigation!).
  22
           IT IS SO ORDERED.
  23
  24 DATED: October 1, 2018
  25                                      Andrew J. Guilford
                                          United States District Judge
  26
  27 Courtroom Deputy Clerk:
     Lisa Bredahl
  28 AG_Chambers@cacd.uscourts.gov

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